
Colcock, J.
The third clause of the act of 1785, giving jurisdiction to the county courts, is in the following words: “ The justices of every county court as aforesaid, shall have full power and jurisdiction to hear and determine all causes at the common law within their respective counties, to any amount, where the debt shall be liquidated by bond or note of hand,” &amp;c. &amp;c. P. L. 367.
The only question then is, can this be considered as a liquidated demand ? It is obviqus that the Le*765gislature meant to limit the jurisdiction to the most plain and simple cases which can occur; and they, therefore, must have meant those cases in which a specific sum was ascertained and fixed, by the parties themselves, in the bond or note. Now this was clearly not such a case. Not a bond or note for the pryment of money, but for the performance of duties, involving a most extensive range of legal learning, such as, I believe, it was not the intention the Legislature to commit to these courts. It was urged that the judgment was of long standing; but I consider it as an assumption of jurisdiction, to try the cause in the first instance; it is, therefore, void ab initio; and no lapse of time can give validity t@ it. I ám against the motion.
Justices Ghimke, Bay and Smith concurred.
